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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


 Adekunle Kuku,                                               Case No. 23-cv-3591 (PJS/DJF)

                         Plaintiff,

 v.                                                                      ORDER

 Capella University,

                         Defendant.



         This matter is before the Court on Plaintiff Adekunle Kuku’s Motion for Leave to File

Amended Complaint (“Motion”) (ECF No. 50).               After Mr. Kuku filed his Motion and

Memorandum in support of his Motion (“Memorandum”) (ECF No. 52), the Court construed the

attachment to his Memorandum (ECF No. 52 at 4–13) as Mr. Kuku’s proposed amended complaint

(ECF No. 57). Defendants filed a statement indicating they do not oppose Mr. Kuku’s Motion to

Amend (ECF No. 59).

                                              ORDER

      1. Mr. Kuku’s Motion for Leave to File Amended Complaint (ECF No. [50]) is GRANTED.

      2. The Court directs the Clerk of the Court to refile Mr. Kuku’s Memorandum (ECF No. [52])

         as his Amended Complaint.

      3. The Court construes the portion of the Memorandum (ECF No. [52] at 4–13) under the

         caption “II. THE AMENDED COMPLAINT” as Mr. Kuku’s Amended Complaint, and

         Orders that the remainder of that document, other than the caption, is construed as stricken

         from the Amended Complaint to be filed by the Clerk of Court pursuant to paragraph 2.




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 4. Defendants shall answer or otherwise respond to the Amended Complaint on or before

    July 30, 2024.




Dated: July 2, 2024                          s/ Dulce J. Foster
                                             Dulce J. Foster
                                             United States Magistrate Judge




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